Case 3:17-cv-00072-NKM-JCH Document 1336 Filed 10/27/21 Page 1 of 2 Pageid#: 22156




                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

                                CIVIL MINUTES – JURY TRIAL
                                             Day Three


   Case No.: 3:17CV72                  Date: 10/27/2021

     Elizabeth Sines, et al                          Counsel: Roberta Kaplan, Karen Dunn, Alan
     Plaintiff(s)                                    Levine, William Issacson, David Mills, Michael
                                                     Bloch, Renato Stabile
     v.

     Jason, Kessler, et al                           Counsel: James Kolenich, David Campbell,
                                                     Joshua Smith, Bryan Jones, Richard Spencer pro
     Defendant(s)                                    se, Christopher Cantwell, pro se




   PRESENT: JUDGE:                  Norman K. Moon              TIME IN COURT: 9:40-
   11:15=1hr 35min; 11:30-12:15=45min; 1:00-1:30=1hr 30min Total: 3hr 50min
                Deputy Clerk:       Heidi N. Wheeler/Susan Moody
                Court Reporter:     Lisa Blair


                                       LIST OF WITNESSES

       PLAINTIFF                                          DEFENDANT
     1.                                              1.



   PROCEEDINGS:
        11 jurors in Panel Five present and sworn on Voir Dire
        8 jurors struck for cause and excused by Court in Panel Five.
        0 jurors struck by Plaintiff in Panel Five.
        1 juror struck by Defendants in Panel Five.
        2 Juror selected from Panel Five. Remaining jurors discharged.


   Additional Information:

   Case called.

   Court has decided against allowing additional peremptory challenges.

   No strike granted back to the non-moving party.
Case 3:17-cv-00072-NKM-JCH Document 1336 Filed 10/27/21 Page 2 of 2 Pageid#: 22157




   Jury selection continues with Panel Five.

   Batson Motion addressed. Arguments heard.

   Break

   Ruling by Court on Motion. Batson Motion is denied.

   Final panel members selected.

   Preliminary Instructions addressed.

   Case to resume 10/28/2021 at 9:00 a.m.
